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                           Brooklyn, New York 11211


                                                        September 15, 2006


  The Honorable Magistrate Judge Robert M. Levy
  United States District Court
  United States Courthouse
  Eastern District of New York
  225 Cadman Plaza East
  Brooklyn, New York 11201

  Honorable Sir:                     Re: Gutman, et al. v. Klein, et al.
                                           03 Civ. 1570 (BMC)

       After discussing the issues raised herein with opposing
  counsel last night, and receiving no response today from Mr. Oved
  and after sending a preliminary draft of this letter by FAX to
  opposing counsel today, without a response, I write at this time to
  express good cause for modification of the order to release the
  computer hard drives.

       Mr. Klein is concerned that through inadvertence or any other
  event, the privileged documents contained on the hard drive will
  somehow be reproduced. To eliminate this possibility, we propose
  that Mr. Klein’s hard drive be delivered to a neutral qualified
  computer science professional (an “Expert”) agreeable to the
  parties or appointed by the Court.

       The Expert will immediately transfer to a CD the quicken files
  and files not claimed by Mr. Klein to be privileged and or
  irrelevant and deliver same to Oved & Oved as well as the
  undersigned. The Expert would then transfer to a CD all documents
  claimed to be privileged and or irrelevant after Mr. Klein
  furnishes a modified and pared down privilege log by the September
  27, 2006 deadline. The CD and or hard copies would then be sent by
  the expert to your Honor. Mr. Klein would be afforded two seeks to
  file objections to the disclosure and opposing counsel could
  respond in whatever time the Court sees fit. The Court would then
  rule on the disclosure issue.

          The hard drive would be analyzed by the expert who would
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  generate a report/list of all deletions, evidence of relabeling and
  changes to files as well as the actual files involved where there
  have been deletions, relabeling and or changes to the extent that
  same can be reproduced. The work product of the Expert would then
  be furnished to the Court and to the undersigned. We would then
  advise opposing counsel and the Court of, which if any files, we
  raise an objection to based on relevance or privilege and the Court
  would determine the issues.

       An arrangement along the lines of the foregoing will protect
  the integrity of the need for confidentially as well as the right
  of Mr. Gutman to determine whether there have been deletions and or
  changes to any of the files.

       If the Expert is agreed upon or appointed by Your Honor, the
  hard drive can be released to him or her immediately.

       We await your response to the foregoing.



                                                      Very truly yours,
                                                      /B/barry R. Feerst
                                                      BARRY R. FEERST




  cc: Oved & Oved LLP
      110 Greene Street, Suite 1102
      New York, New York 10012
